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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

STEPHEN JENKINS,
                                                  )
       Plaintiff,                                 )
                                                  )
       v.                                         )     Case No. 6:16-CV-740-Orl-28-GJK
                                                  )
CITIBANK, N.A.,                                   )
                                                  )
                                                  )
       Defendant.                                 )

                    STIPULATION OF DISMISSAL WITH PREJUDICE

       Plaintiff, STEPHEN JENKINS (“Plaintiff”), and Defendant, CITIBANK, N.A.

(“Defendant”), hereby stipulate and give notice of the dismissal of this action, with prejudice,

with each party to bear its own fees and costs.

Agreed to this___27___ day of December, 2016


Dated: December 27, 2016                      Respectfully Submitted,

                                              By:/s/ Stephen R. Caplan
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Dated: December 27, 2016                      Respectfully Submitted,
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                                          By:/s/ Jacob Aaron Brown

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                                          ATTORNEYS FOR DEFENDANT




                             CERTIFICATE OF SERVICE

    I hereby certify that on December 27, 2016, I electronically filed the foregoing Stipulation




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of Dismissal with the Clerk of the Court by using the CM/ECF System. A copy of said

Stipulation was submitted to all parties by way of the Court’s CM/ECF System


                                                         /s/ Stephen R. Caplan
                                                         Stephen R. Caplan
                                                         Attorney for Plaintiff




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